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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

United States of America,
Plaintiff, Case No.: —21-mj-00549-SH
Vs. Date: 8/16/2021

Court Time: | | \ D2oM-|] ‘h] GUNN
IQ ODM - IR (Van

MINUTE SHEET — DETENTION AND/OR

Laura Kay Sawyer ,

Defendant(s). PRELIMINARY HEARING
Jodi F. Jayne, U.S. Magistrate Judge S. Cope, Deputy Clerk Magistrate Courtroom 1
Interpreter: C) Sworn
Counsel for Plaintiff: David Nasar
Counsel for Defendant: Stephen G Layman Appt.
Case called for: C] Detention Hearing, [& Preliminary Hearing;

Defendant appears in custody with counsel;
Defendant waives: ) Preliminary Hearing 1) Detention Hearing, waiver(s) executed;
(1 Government withdraws their Motion for Detention # :
(] Defense counsel stipulates there is probable cause;
C1 Proffer(s) made;
aH Witness(es) sworn and testimony given;
Arguments heard;
Court Finds Probable Cause;
Motion for Detention (Dkt # ): © granted, O denied, O moot;
CL] Court finds there are conditions which defendant can be released; Defendant ordered released;

we set at Bond and Conditions of Release executed;
Defendant detained and remanded to custody of U.S. Marshal, CJ Detention Order to be entered;

1) Exhibit(s) returned to counsel.

Additional Minutes:

Government’s Witnesses: Defendant’s Witnesses:

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Government’s Exhibits: Defendant’s Exhibits:

Detention Hearing and/or Preliminary Hearing (8/2021)
